MIEDCase      2:17-cv-14202-GAD-EAS
    (Rev. 04/09/06) Notice of Appeal              ECF No. 25, PageID.489 Filed 07/11/19 Page 1 of 1


                                           UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF MICHIGAN

DENNIS J. WILLARD


                  Plaintiff(s),                                      Case No. 2:17-cv-14202

v.                                                                   Judge Arthur J. Tarnow

HUNTINGTON FORD, INC.                                                Magistrate Judge Elizabeth A. Stafford


                  Defendant(s).
                                                           /


                                                   NOTICE OF APPEAL

         Notice is hereby given that Dennis J. Willard                                                                appeals to

the United States Court of Appeals for the Sixth Circuit from the:                    Judgment             Order

✔ Other: Order Granting Defendant's Motion for Summary Judgment (Dkt #22) and Judgment (Dkt #23)

entered in this action on June 26, 2019                          .



Date: July 10, 2019                                                  /s/Brian J. Farrar

Counsel is: RETAINED                                                 P79404
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Appellant: Please file this form with the District Court Clerk’s Office. If you are paying the filing fee, please make your
$505.00 check payable to: Clerk, U.S. District Court.
